                       Case 3:22-cr-00227-JD Document 1 Filed 07/17/20 Page 1 of 23                   FILED
AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                          Jul 17 2020
                                     UNITED STATES DISTRICT COURT
                                                               for the                 SUSANY. SOONG
                                           __________  DistrictofofCalifornia
                                             Northern District      __________    CLERK, U.S. DISTRICT COURT
                                                                               NORTHERN DISTRICT OF CALIFORNIA
                  United States of America                  )                           SAN FRANCISCO
                                v.                                  )
                    SHAUKAT SHAMIM
                                                                    )    Case No. 3-20-MJ-70966 MAG
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              2018 through October 2019        in the county of             Santa Clara          in the
     Northern          District of           California       , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 1343                               Count One: Wire Fraud
                                               Max. Penalties: Not more than 20 years imprisonment; not more than
                                               $250,000 fine; not more than 3 years supervised release; $100 special
                                               assessment
15 U.S.C. § 78j(b) and 78ff, 17                Count Two: Securities Fraud
C.F.R. § 240.10b-5                             Max. Penalties: Not more than 20 years imprisonment; not more than
                                               $5,000,000 fine; not more than 3 years supervised release; $100 special
                                               assessment

         This criminal complaint is based on these facts:
The attached affidavit of FBI Special Agent Alexandra Bryant.




         ✔ Continued on the attached sheet.
         u


                                                                          /s/ Alexandra Bryant, via telephone
                                                                                             Complainant’s signature
          $SSURYHGDVWRIRUPBBBBVBBBBBBBB
                                                                                   Alexandra Bryant, Special Agent, FBI
                       $86$:LOOLDP)UHQW]HQ
                                                                                              Printed name and title

Sworn to before me E\WHOHSKRQH.

           July 17, 2020
Date:
                                                                                                Judge’s signature

City and state:                  San Francisco, California                        Hon. Sallie Kim, U.S. Magistrate Judge
                                                                                              Printed name and title
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       I, Alexandra Bryant, a Special Agent of the Federal Bureau of Investigation, being duly

sworn, hereby declare as follows:
                        OVERVIEW AND AGENT BACKGROUND

       1.      I make this affidavit in support of a two count Criminal Complaint against

SHAUKAT SHAMIM (hereinafter SHAMIM):

            a. Count One: Wire Fraud for an investment fraud scheme SHAMIM orchestrated

               from at least 2018 through October 2019 in connection to SHAMIM’s start-up

               technology company, Youplus, in violation of 18 U.S.C. § 1343;

            b. Count Two: Securities Fraud for selling securities through false, fraudulent, and

               misleading statements and promises from at least 2018 through October 2019 in

               connection with sales of securities in Youplus, in violation of 15 U.S.C. § 78j(b)

               and 78ff, 17 C.F.R. § 240.10b-5.

For the reasons set forth below, I believe there is probable cause to believe SHAMIM has

committed the foregoing violations of federal law.

       2.      The statements contained in this affidavit come from my personal observations,

my training and experience, information from records and databases, and information obtained
from other agents and witnesses. This affidavit summarizes such information in order to show

that there is probable cause to believe that SHAMIM has committed the violations listed above.

This affidavit does not purport to set forth all of my knowledge about this matter, or to name all

of the persons who participated in these crimes.

       3.      I am a Special Agent of the Federal Bureau of Investigation (“FBI”) and have

been so employed for approximately three years. I am currently assigned to a Complex Financial

Crime Squad of FBI’s San Francisco Field Division. As part of my assigned duties, I investigate
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possible violations of federal criminal law, specifically investigations involving white collar

crime.

                                       APPLICABLE LAW


         4.      Title 18, U.S.C. § 1343 prohibits wire fraud. The essential elements of this

offense are: 1) the defendant knowingly participated in, devised or intended to devise a scheme

or plan to defraud, or a scheme or plan for obtaining money or property by means of false or

fraudulent pretenses, representations, or promises; 2) the statements made or facts omitted as part

of the scheme were material, that is they had a natural tendency to influence, or were capable of

influencing, a person to part with money or property; 3) the defendant acted with the intent to

defraud, that is, the intent to deceive or cheat; and 4) the defendant used, or caused to be used, a

wire communication to carry out, or attempt to carry out an essential part of the scheme. See

Ninth Circuit Instruction 8.124.

         5.      Title 15, U.S.C. §§ 78j(b) and 78ff; and Title 17 C.F.R. § 240.10b-5 prohibit

securities fraud. The essential elements of this offense are: 1) the defendant knowingly and

willfully used or employed a manipulative or deceptive device, 2) the manipulation or deception

was in connection with the sale of a security, 3) the manipulation or deception constituted a false

statement or misleading omission of material fact. See United States v. Jenkins,633 F.3d 788

(9th Cir. 2011). Promissory notes tied to shares in a company and/or dependent on corporate

performance are a form of security covered by the law.




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                             FACTS SUPPORTING PROBABLE CAUSE

Summary of the Scheme

         6.       The following facts lay out the fraud scheme that has occurred thus far. The

subject is SHAUKAT SHAMIM (SHAMIM), a 49-year-old male living in Santa Clara, CA. In

March 2020 Venture Capital Fund C (hereinafter VC FUND C 1), a venture capital firm in San

Jose, CA, reached out to the FBI. The FBI learned from VC FUND C that SHAMIM had raised

approximately $17 million for his startup company, Youplus, and had lied to investors about

Youplus’s revenue and success in securing investments. From 2018 through 2019 SHAMIM

solicited VC FUND C to invest in Youplus and provide additional funds to keep the company

afloat. SHAMIM made material false statements about Youplus’s 2018 and 2019 revenue in

order to raise funds from VC FUND C and its Investment Committee members. SHAMIM also

made false statements in regards to Youplus’s client list claiming numerous Fortune 500

companies were paying customers when they were in fact not. As described below, many of the

investor funds raised from 2017 to 2019 went to SHAMIM, his wife, and to SHAMIM’s

international travel and personal expenses. Additionally, based on VC FUND C’s examination

of the software developed by SHAMIM and Youplus, it appeared that SHAMIM also

misrepresented the capabilities of the software that was developed.

         7.       On August 1, 2019, SHAMIM used false, fraudulent, and misleading statements

to cause an investor to use interstate wires to send an additional $100,000 to SHAMIM and

Youplus and to purchase securities from SHAMIM and Youplus.




Youplus and SHAMIM’s Scheme
1
 In the interest of anonymity, I have used capitalized initials to identify entities and individuals other than
SHAMIM.



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       8.       Youplus Inc., was incorporated in Delaware in November 2013. SHAMIM is the

CEO and founder of Youplus. Based on SHAMIM’s public LinkedIn profile, SHAMIM

previously worked at Yahoo and founded a startup technology company that was acquired by

AOL in 2012. By 2019 archives of Youplus’s website show that Youplus claimed to have offices

in Mountain View, Chicago, New York, London, and India.

       9.       In 2013 SHAMIM opened a deposit account ending 8387 at Silicon Valley Bank

(SVB) for Youplus. In 2015 the address for this account was 2045 Kington Place, Santa Clara,

CA 95051. Based on database records and surveillance conducted at this address, I believe this to

be SHAMIM’s residence. In September 2016 a new Youplus account was opened at SVB ending

6865 and the account 8387 was closed. The address listed for this new account was also 2045

Kington Place when the account was first opened and then changed to multiple other Bay Area

addresses.

       10.      From March 2015 to November 2016, the SVB account ending in 8387 received

approximately $2.2 million in incoming wire transfers. A majority of these wires I believe to be

investments into Youplus. This included $500,000 from an investor in Palo Alto, CA.

       11.      From December 2016 to January 2020, the SVB account ending in 6865 received

approximately $13.7 million in incoming wire transfers. I also believe a majority of these wires
to be investments into Youplus. From December 2016 to October 2017 approximately $3.1

million was received including $2 million from an investor in Palo Alto, CA and $250,000 from

an investor in the Isle of Man. According to that investor’s website it is a venture capital firm

that “invests in early stage technology companies led by entrepreneurs who have a passion and

mission to make the world a happier place.” According to LinkedIn, that investor is a venture

capital firm in the UK that has three Managing Partners including INVESTOR BL, who resides

in the Bay Area.




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       12.      By August 2018, archives of Youplus’s website www.youplus.com, show that

Youplus had launched its first product. An archive of the Youplus website from August 27, 2018

had the following statement on Youplus’s home page: “People have opinions and are not shy to

speak them! More than any other source, consumers are tuning to video reviews of products

uploaded by everyday people like themselves to inform their buying decisions. Youplus helps

marketers solve key questions by learning what the video web is thinking and feeling, and then

indexing its relevant contents. From macro topic trends to brand-specific sentiment, we deliver

data and insight driven by the real, untapped universe of human opinion influencing the

marketplace right now”.

       13.      My understanding of Youplus’s business model – based on my review of the

website, documents, and interviews of investors – was that it claimed to have built a technology

platform to review videos and could determine the opinions being expressed in these videos. For

example, Youplus’s product could review hundreds of videos that mention Dove shampoo and

then could automatically summarize the sentiments being expressed about the shampoo in the

videos. This would enable companies to know how their products are doing or trending in video

content. Youplus would be cheaper and more efficient than hiring market research firms to

conduct focus groups. Youplus claimed to have cutting edge artificial intelligence (AI) to
interpret these videos. Youplus touted winning awards from innovation groups, including this

news release: “Youplus, a cutting-edge technology innovation company providing AI-based

video solutions, won the eminent Webit Award 2019 for ‘Best Use of AI’ at the Webit Festival,

the leading Digital and Innovation event of the distinguished Webit Foundation,” as well as

winning the “AI Excellence Award by Business Intelligence Group.” A March 2018 Youplus

Investor Update provided to the FBI from VC FUND C had the following description of

Youplus’s business model:




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       14.      Based on an interview of an attorney at Alto Litigation, who represented VC

FUND C against SHAMIM, SHAMIM told Alto Litigation that Youplus underwent massive

change in 2017 and shifted to the video opinion search product that SHAMIM marketed up until

the end of 2019. The two products Youplus offered were VISION and VIEW.

       15.      In 2018 INVESTOR GG launched VC FUND C. INVESTOR GG is the founder

and managing director of VC FUND C, which is a venture capital firm located in San Jose, CA

focused on early stage investments in technology companies. VC FUND C has launched one

private equity fund that has invested in approximately 8 to 9 startups. VC FUND C has outside

investors and also the Investment Committee members of VC FUND C invest in the fund.

       16.      Based on an FBI interview of INVESTOR GG, INVESTOR GG met SHAMIM in

approximately 2018 through a non-profit group. When INVESTOR GG launched VC FUND C

he started to host dinners where potential start-ups could pitch their companies to VC FUND C

and its Investment Committee. INVESTOR GG invited SHAMIM to present Youplus in 2018

after hearing about SHAMIM and Youplus through the non-profit group. SHAMIM made a

positive impression on INVESTOR GG and the Investment Committee. In 2018 SHAMIM sent

INVESTOR GG emails providing updates about Youplus including investor presentations and

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financing updates. Specifically, on March 23, 2018 SHAMIM sent INVESTOR GG a Youplus

Investors & Shareholders Update from the email address sshamim@youplus.co. The email

included in part the following sections:




       17.      On September 20, 2018 and September 22, 2018, SHAMIM sent two emails to

INVESTOR GG and other potential investors including a venture capital firm in Australia. Both

emails had spreadsheets attached. The September 20th email attached a spreadsheet titled

“Youplus_Finacial_0818”, which was authored by “Shaukat Shamim”. This sheet had a tab

labelled “Financial Summary”, which included Total Revenue for the months January 2018 to

July 2018. Total Revenue for July 2018 was listed at $400,118. The September 22nd email

attached a spreadsheet titled “Youplus_Customer_Breakdown_0922_18”, which broke out

current and projected revenue for Youplus’s two products VISION and VIEW by customer. Over

130 purported clients were listed as well as the following table:


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                 Total Number of current Brands 562
                 Revenue/month                          $579,500
                 Projected #Brands in 12m                                1,483
                 Projected Revenue/month 12 m $3,766,000

       18.      By the end of 2018 INVESTOR GG was impressed with Youplus’s business

model, client list, and the other investors SHAMIM claimed were investing or thinking of

investing in Youplus. From December 5, 2018 to March 27, 2019, VC FUND C invested $1.4

million in Youplus. VC FUND C wired the following amounts to Youplus’s account at Silicon

Valley bank ending 6865: December 5, 2018 - $600,000; March 13, 2019 - $300,000; and March

27, 2019 - $500,000. These three investments were memorialized via two convertible promissory

notes signed electronically by SHAMIM. The VC FUND C investments were bridge financing

until Youplus completed its first round of equity financing or Series A, at which point VC FUND

C’s investments could be converted into preferred shares. This conversion never took place.

       19.      From January 2019 to September 2019 VC FUND C helped SHAMIM with

fundraising and securing investors for a potential Series A financing round. The VC FUND C’s

investors and Investment Committee members also invested in Youplus in addition to the VC

FUND C investments. One VC FUND C Investment Committee member that invested was

INVESTOR CD, an Executive Vice President at Samsung who resides in New Jersey. Based on

an FBI interview of INVESTOR CD, INVESTOR CD met with SHAMIM in New York City in

the fall of 2018 multiple times before INVESTOR CD invested.

       20.      SHAMIM emailed a November 2018 Youplus presentation to INVESTOR CD.

INVESTOR CD was impressed with the new capabilities Youplus was working on and by

Youplus’s client list. The client list was an important factor in INVESTOR CD first investing in

Youplus. The client list slide from the November 2018 presentation showed the following

customers:

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       21.    In December 2018 INVESTOR CD invested $50,000 in Youplus and wired the
funds to Youplus’s Silicon Valley Bank account ending 6865. Similar to VC FUND C,

INVESTOR CD’s investment was memorialized via a convertible promissory note. On

December 8, 2018 SHAMIM emailed INVESTOR CD wire instructions, the promissory note,

and advisory board paperwork (INVESTOR CD was to become a Youplus advisor). INVESTOR

CD signed the promissory note and emailed it back to SHAMIM, but INVESTOR CD does not
believe he received a countersigned version back from SHAMIM.

       22.    By August 2019 INVESTOR CD decided to invest more funds into Youplus. One

of the material reasons INVESTOR CD decided to invest more was because of Youplus’s 2019

revenue projections and accelerated growth. On May 23, 2019 INVESTOR CD received an

email from SHAMIM that attached an updated May 2019 Youplus presentation and a 2019

financial model spreadsheet. The attached spreadsheet projected Youplus revenue for 2019 was

approximately $17.8 million and actual revenue recognized from January 2019 to April 2019

was approximately $3.5 million.

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       23.     On May 29, 2019 SHAMIM emailed INVESTOR GG what appears to be a draft

of the Youplus June Investor Update. The email’s subject was “Please review before I use this”.

In the email there is a section called “Traction Highlights” where SHAMIM stated in part

“$4.62m revenue this year till May 2019, already surpassed entire 2018 revenue in 5 months.

Projected revenue for 2019 is $17.8m. We have already booked $13m revenue for 2019”.

       24.     INVESTOR CD viewed Youplus’ projected revenue of over $10 million for 2019

as impressive and a big hurdle for a startup to pass. Because of the accelerating growth, revenue

projections, and continued impressive client list, INVESTOR CD invested an additional

$100,000 on August 1, 2019 into Youplus. INVESTOR CD sent two $50,000 wires from

INVESTOR CD’s UBS bank accounts to Youplus’s SVB account ending 6865. INVESTOR CD

also recommended his brother and friend invest in August 2019. On August 1, 2019 SHAMIM

sent INVESTOR CD an email containing the wiring instructions as well as a convertible

promissory note, similar to the notes described above, for the additional $100,000.

       25.     The $50,000 wire sent INVESTOR CD’s UBS account, was a federal wire using

the Federal Reserve system and constitutes an interstate wire for Count 1 of this Complaint.

       26.     By September 2019 SHAMIM asked INVESTOR GG and VC FUND C for

additional funding. SHAMIM claimed that Youplus was running out of cash and could not meet
payroll. INVESTOR GG was confused why Youplus was having cash flow problems given that

SHAMIM said they had booked millions in revenue in 2019. INVESTOR GG already had a VC

FUND C employee and a VC FUND C advisor helping SHAMIM with potential Series A

investors in August 2019. When SHAMIM asked for additional funds, INVESTOR GG asked

the VC FUND C advisor (ADVISOR AK) to conduct due diligence and write a formal

investment memo on Youplus for VC FUND C. As part of the due diligence ADVISOR AK

asked SHAMIM for Youplus records including customer contracts and bank statements.

SHAMIM delayed in getting these items to ADVISOR AK. Between September 13, 2019 and


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October 1, 2019 VC FUND C ended up providing Youplus $550,000. These cash injections were

made before ADVISOR AK finished his full due diligence and before SHAMIM provided all of

the documents requested by ADVISOR AK.

       27.    By approximately October 14, 2019, SHAMIM had uploaded bank statements,

payroll information, and customer contracts to a data room, which was a Google Drive folder

with no password. ADVISOR AK noticed that the customer contracts looked like carbon copies

of each other. Additionally, SHAMIM had provided an August 2019 Youplus bank statement

from Chase bank. ADVISOR AK noticed that the bank statement appeared altered and the debits

and credits did not add up to the ending balance listed. ADVISOR AK informed the others at VC

FUND C, including INVESTOR CD, about what he had found. INVESTOR CD provided the

FBI with a copy of the August 2019 Chase statement from SHAMIM.

       28.    Based on records from Chase Bank, INVESTOR BL opened a Youplus checking

account ending 9585 and savings account ending 0517 in February 2019. On the opening

account documents INVESTOR BL was listed as the acting secretary of Youplus. Based on

interviews of VC FUND C employees and Investment Committee, INVESTOR BL is associated

with GRIL Ventures, an investor mentioned above who invested in Youplus in 2017.

       29.    I compared the August 2019 statement for Chase account ending 9585 from
SHAMIM [Exhibit 1] with the August 2019 statement provided by Chase [Exhibit 2]. I believe

that the August 2019 statement provided by SHAMIM was materially altered to show fake

incoming revenue from fake clients. Specifically, the statement from SHAMIM shows deposits

totaling over $600,000 from 35 different companies including Coca-Cola, Kraft, and Netflix. The

true statement from Chase shows just one deposit from Procter Gamble for $65,000. I believe

SHAMIM sent falsified records because Youplus had materially less revenue generation and

number of clients than SHAMIM had told investors in 2018 and 2019.




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       30.      On October 18, 2019 VC FUND C decided to confront SHAMIM about the

fraudulent bank statements and their concerns about a possible fraud. SHAMIM, INVESTOR

GG and ADVISOR AK were present at VC FUND C’s office for the meeting. INVESTOR CD

and two other Investment Committee members were dialed into the meeting via teleconference.

During the meeting the following topics were discussed:

             a. SHAMIM claimed he was not going to run away with investors’ money.

                SHAMIM was the “product CEO” focused on building the technology and getting

                customers. SHAMIM claimed he did not focus as he should have on other parts of

                the business like financials. SHAMIM was not sure what the actual revenue of

                Youplus was. The Youplus employee who handled the financials was in India and

                SHAMIM claimed not to have his/her name. SHAMIM also indicated on a

                couple of occasions during the meeting that he was willing to just shut the

                company down – an extreme and odd offer if Youplus had been as successful as

                SHAMIM had told investors.

             b. VC FUND C discussed SHAMIM needing to hire forensic accountants to get the

                correct financials for Youplus. VC FUND C also demanded SHAMIM provide

                untampered bank statements and payroll for Youplus. SHAMIM agreed he would
                supply these documents. At one point SHAMIM denied that he had access to the

                bank accounts and then admitted that he had access to one bank account.

             c. VC FUND C and SHAMIM agreed SHAMIM needed to find out who tampered

                with the bank statements. SHAMIM suggested that employees in India were the

                ones responsible for tampering with the bank statements, but SHAMIM still said

                he took responsibility for what occurred.

       31.      After the October 18, 2019 meeting, SHAMIM provided VC FUND C with

copies of statements for Youplus accounts at SVB, Chase, an Indian bank, and American


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Express. According to INVESTOR CD, SHAMIM asked INVESTOR BL to update Youplus’s

QuickBooks. SHAMIM then shared the QuickBooks records with VC FUND C and INVESTOR

CD.

        32.       On October 27, 2019 SHAMIM emailed INVESTOR CD and others. The email

stated in part:




        33.       INVESTOR CD went through the QuickBooks provided by SHAMIM as well.

Youplus took in approximately $17 million since inception. INVESTOR CD observed that

approximately $5.4 million went to Youplus’s India operations, $1.6 million went to payroll,

$1.3 million went to SHAMIM or his wife, $2.4 million went to consulting fees, and $1.5 million

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was spent on travel. INVESTOR CD believed that INVESTOR BL may have been associated

with some of the consulting firms being paid. Additionally, INVESTOR CD observed SHAMIM

repaid himself for “officer loans” made to Youplus, but INVESTOR CD could not find all of the

corresponding funds where SHAMIM loaned the company the money.

       34.      INVESTOR CD could only find approximately $116,000 in customer

invoices/revenue in the QuickBooks records.

       35.      I reviewed the QuickBooks’ records provided to INVESTOR CD by SHAMIM

and records for the Youplus SVB account ending in 6865. Below is a summary of approximately

$11 million in US based expenses from 2013 to October 2019 (records for India related expenses

were not included in the QuickBooks) as well as payments made to SAIMA HAQUE. Based on

database records, I believe SAIMA HAQUE to be SHAMIM’s wife.

             a. According to the SVB and QuickBooks’ records, SHAMIM and his wife received

                approximately $1.3 million in direct payments from Youplus.

             b. The approximately $1.5 million in travel expenses included hundreds of

                thousands in high end hotels. A majority of the airline tickets appear to be for

                SHAMIM, but there are tickets for other Youplus employees and investors

                including LAURENCE AINOUZ, INVESTOR BL, and tickets for INVESTOR
                GG in late 2018. Approximately $275,000 in expenses were recorded as

                “Promotional Meals”. The travel expenses and promotional meal expenses seem

                outsized given that less than $1 million in revenue was ever achieved.

             c. In the QuickBooks there was a category called “Other Expenses – Shaukat”,

                which appears to be personal non-business related purchases. This totals

                approximately $246,190. Listed in these expenses were things like additional

                travel expenses, expensive eyewear store purchases, duty free purchases, and

                approximately $5,000 at John Varvatos stores, a men’s clothing company.


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             d.
Expenses (2013 to 10/2019)
Consulting Fees (minus fees paid to SHAMIM's wife)                         $        2,285,254.41
                                                          Laurence Ainouz $             332,635.52
                                                           AND IMPACT X $               405,203.55
                                                     Other Consulting Fees $           1,547,415.34
Travel                                                                     $        1,556,093.44
Salary (minus salary paid to SHAMIM and SHAMIM's wife)                     $        1,491,734.86
Other Expenses (taxes, healthcare, etc.)                                   $        1,236,835.71
Payroll Taxes                                                              $          996,694.86
Software Development (all costs incurred 2014 to 2016)                     $          652,765.50
Advertising and Marketing                                                  $          441,453.40
Rent & Lease                                                               $          369,178.38
Promotional Meals                                                          $          274,587.11
Office Expenses                                                            $          243,445.46
Payments to Shamim and SHAMIM's wife                                       $          987,660.18
                                           SAIMA HAQUE - Consulting Fees $              118,000.00
                                                     SAIMA HAQUE - Salary $             610,300.14
                                                         SHAMIM - Salary $              259,360.04
Other Expenses - Shaukat Account                                           $          246,190.91
Total                                                                      $       10,781,894.22

Additional Payments to SAIMA HAQUE from SVB Account ending 6865 $                     307,721.28
Direct Payments to SHAUAKAT SHAMIM and SAIMA HAQUE              $                   1,295,381.46


       36.        From December 2016 to January 2020, approximately $3 million in American

Express card payments were made from the Youplus SVB account ending in 6865. The

approximately $1.5 million in travel expenses discussed above was generally charged on

American Express cards. I believe that part of the travel expenses were not legitimate business

expenses. I also believe there were additional personal expenses paid for with Youplus funds that

were not properly labelled in the QuickBooks records given to the VC FUND C by SHAMIM.

An example of this is found in the statement for the Youplus AMEX card ending 41005 for May

2018. Approximately $132, 073.01 charges were made in the month including $15,460.25 and

$2,493.24 at Saks New York (a department store). The QuickBooks records had these expenses


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labelled as “Travel: Flight Expense”. The payments for the Youplus AMEX card ending 41005

for May 2018 were paid for from the Youplus SVB account ending 6865.

       37.     I believe that SHAMIM materially misrepresented Youplus’s revenue and clients

since 2018. Even taking SHAMIM’s calculation of “actual” revenue of $499,972 from his

October 27, 2019 email, that is multiple times less than what SHAMIM reported to investors and

potential investors in 2018 and 2019. I also believe SHAMIM knew that the many large

companies he claimed were Youplus clients were not paying clients.

       38.     On approximately November 25, 2019 investors demanded SHAMIM resign from

Youplus and a new board be appointed to oversee what could be done with the company.

INVESTOR CD was made executive chairman of Youplus. By 2020 all the Youplus Indian

employees were laid off and Youplus was no longer an operating business. Based on

information from investors regarding the state of the AI technology that existed at Youplus,

probable cause exists that SHAMIM had not developed AI that could perform all of the functions

he represented to potential investors, investors, and to potential clients. It appeared to investors

that some of the product that was generated by Youplus and purported to be the product of AI

software was, in fact, the product of paid workers in India watching videos and then recording

their impressions. In other words, the product of human intelligence rather than AI software.
       39.     A Committee member of VC FUND C spoke to Youplus’s CTO and India team

after the fraud was discovered. While some work had been done, like the creation of a user

interface, Youplus’s platform was not a fully automated solution, parts of the core technology

had not been coded, and some of the technology used was publicly available software and tools.

There did not appear to be any IP or patents. The Committee member of VC FUND C estimated

it would take six months to a year with additional investment needed to even create a functioning

product.




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       40.     For the reasons set forth above, I believe SHAMIM made materially false and

fraudulent pretenses, representations, and promises to INVESTOR CD and concealed material

facts from INVESTOR CD in order to secure investments from INVESTOR CD, in violation of

18 U.S.C. § 1343.

                                         CONCLUSION

       41.     Based on the foregoing, it is my opinion that there is probable cause to believe

that Shaukat SHAMIM committed Wire Fraud, in violation of 18 U.S.C. § 1343 and Securities

Fraud, in violation of 15 U.S.C. §§ 78j(b) and 78ff, 17 C.F.R. § 240.10b-5. Accordingly, I

respectfully request that a warrant for the arrest of SHAMIM be issued.

                                  REQUEST FOR SEALING

75.    I respectfully request that the Court issue an order sealing, until further order of the Court,

the Criminal Complaint and all papers submitted in support of this Criminal Complaint, including

this affidavit. I believe that sealing is necessary in order to effectuate the orderly arrest of

SHAMIM and in order to guard against flight and destruction of evidence.



I declare under penalty of perjury that the above is true and correct to the best of my knowledge.


                                              ______________________________
                                              /s/ Alexandra Bryant
                                              ALEXANDRA E. BRYANT
                                              Special Agent
                                              Federal Bureau of Investigation




Sworn to before me over the telephone and signed by me pursuant to Fed.R.Crim.P 4.1 and 4(d)
on this ____
         17 day of July 2020.


____________________________________
HON. SALLIE KIM
United States Magistrate Judge
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    EXHIBIT 1
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                                                                                   July 31, 2019through August 31, 2019
                                                                                     Primary Account: 0 0 0 0 0 0 3 7 6 2 3 9 5 8 5




    CHASE PLATINUM BUSINESS CHECKING
    YOUPLUS, INC.                                                                         Account Number: 000000376239585



    CHECKING SUMMARY
    Beginning Balance                                                         $9,880.00
    Electronic Deposits and Additions                                        639,579.00
    Linked Acct Transfer                                                      31,673.67
    Electronic Withdrawals                                                  -633,190.00

    Ending Balance                                                         $. 12,350.33

Your account ending in 0517 is linked to this account for overdraft protection.
Your Chase Platinum Business Checking account provides:
·   No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
·   500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
·   $25,000 in cash deposits per statement cycle
·   Unlimited return deposited items with no fee

There are additional fee waivers and benefits associated with your account – please refer to your Deposit Account
Agreement for more information.

    DEPOSITS AND ADDITIONS

    08/26            Nivea EDI Paymnt 6121758788 I                         D: 0973345789                             $5,500.00
    08/26            Procter Gamble EDI Paymnt 7221758647                  ID: 7894371445                            $65,000.00
    08/25            Interpublic EDI Paymnt 4229158634                     ID: 8673339245                            $25,000.00
    08/24            Mindshare EDI Paymnt 5496757699                       ID: 5129884299                            $55,800.00
    08/22            Phd M, Z918233 EDI Paymnt 5434537699                  ID: 6453469484                            $6,133.00
    08/22            Omnicom EDI Paymnt 44545864714                        ID: 7386396823                            $67,500.00
    08/21            Porsche Corp EDI Paymnt 8908766748                    ID: 7216911924                            $5,000.00
    08/19            Epsilon EDI Paymnt 3223998775                         ID: 4714163298                            $5,143.00
    08/18            Geometry Global EDI Paymnt 8651948900                 ID: 4447825352                            $5,000.00
    08/18            Grey Media EDI Paymnt 7805771009                      ID: 1198711252                            $4,958.00
    08/16            Huggies EDI Paymnt 8001758867                         ID: 4891974798                            $4,100.00
    08/16            Coca-Cola EDI Paymnt 9986234788                       ID: 6629471396                            $7,500.00
    08/16            J&J EDI Paymnt 2201758721                             ID: 2713729299                            $5,833.00
    08/14            Kraft Corp EDI Paymnt 7243058449                      ID: 7282394339                            $10,200.00
    08/14            Lexus USA EDI Paymnt 8821758647                       ID: 1877617766                            $8,500.00
    08/12            Mars Corp EDI Paymnt 9081888004                       ID: 7827477298                            $9,400.00
    08/11            Mediacom EDI Paymnt 9931818687                        ID: 6590388811                            $14,500.00
    08/11            Netflix Corp EDI Paymnt 8211758005                    ID: 9191933444                            $8,750.00
    08/11            Pepsico Corp EDI Paymnt 4734708829                    ID: 8564422418                            $8,000.00
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                                                                   July 31, 2019through August 31, 2019
                                                                     Primary Account: 0 0 0 0 0 0 3 7 6 2 3 9 5 8 5




CHASE PLATINUM BUSINESS CHECKING
YOUPLUS, INC.                                                             Account Number: 000000376239585

DEPOSITS AND ADDITIONS

08/11           Ogilvy EDI Paymnt 7117622047                ID: 1346411987                           $5,833.00
08/11           Pampers EDI Paymnt 7783256649               ID: 1209321523                           $15,000.00
08/11           Peugeot EDI Paymnt 63453857                 ID: 1800811334                           $5,833.00
08/10           Phil Morris EDI Paymnt 42343887             ID: 7023079415                           $9,916.00
08/10           UM IPG EDI Paymnt 549634539                 ID: 5724584870                           $11,677.00
08/10           ALWAYS PG CO EDI Paymnt 998757879           ID: 1129984599                           $35,000.00
08/09           BRAUN PG CO EDI Paymnt 5993757677           ID: 6129564300                           $17,500.00
08/09           GroupM ADC NY928380/ REF 32332 EDI Paymnt   ID: 3774839202                           $53,146.00
08/09           BOUNCE PG CO EDI Paymnt 55546757119         ID: 8440884300                           $17,500.00
08/09           Unilever Dove EDI Paymnt 5996757220         ID: 9883399550                           $12,500.00
08/08           GroupM EDI Paymnt 4981753855                ID: 3910811975                           $40,000.00
08/08           General Mills EDI Paymnt 1189861292         ID: 4154387100                           $9,167.00
08/08           LifeBuoy EDI Paymnt 54125733344             ID: 7721904299                           $9,167.00
08/05           Pantene EDI Paymnt 7656757699               ID: 5253488744                           $8,700.00
08/05           TIDE PG CO TDPG2321 EDI Paymnt 7796757877   ID: 5544366373                           $35,500.00
08/05           Verte zy6787 EDI Paymnt 9996753453          ID: 6634346334                           $9,000.00
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    EXHIBIT 2
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